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                                   UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF GEORGI A
                                               PROBATION OFFICE

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                                                  BRUNSWICK


MEMORANDU M
DATE : January 18, 2007

TO : Honorable James E . Graham
         United States Magistrate Judge

                      Karl Knoch e
                      Assistant U . S. Attorney

FROM : Fonda Dixo n
          United States Probation Office r

RE : Tyrone Bernard Bradley
           CR206-00034-001
           Brunswick Division
           Represented by : Reid Zeih

                      REPORT OF APPARENT VIOLATION OF CONDITIONS OF RELEAS E

      This report is made pursuant to 18 U.S.C. § 3154(5) .

      Defendant appeared before Your Honor on October 31, 2006 , and was released pursuant to 18 U.S.C. §
      3142, on various conditions , including the condition the defend ant refrain from use or unlawful possession
      of a narcotic drug and other controlled subst an ces defined in 21 U.S.C . § 802 unless prescribed by a
      licensed medical practitioner .

      On January 12, 2007, the defendant submitted a urine specimen that tested positive for cocaine on a five-
      panel field test . The defendant denied using cocaine . He stated he had recently taken a crack pipe away from
      his aunt and cleaned up some baggies belonging to her and that he may have absorbed cocaine into his
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      system . The specimen was sent to Scientific Testing Laborato ries, Inc ., for confirmation . The specimen was
      confirmed positive for cocaine on January 17, 2007 .

      After being confronted with the lab results, the defendant still denies using cocaine . However, he is
      agreeable to participating in outpatient substance abuse treatment .

      Section 3148 of Title 18, U .S . Code provides that "The attorney for the Government may initiate a
      proceeding for revocation of an order of release by filing a motion with the district court . "

      The Court may, on its own motion, cause the defendant to be brought before it, either by arrest or by
      summons, for the purpose of determining whether the order of release should be revoked or modified .

      Assessment and Recommendation :

      This violation is the defendant's first violation of his release conditions . He has abided by all other
      conditions to date . Therefore, it is recommended that the defendant's conditions of release be modified to
      include the condition that he participate in a program of outpatient substance abuse counseling .

      Reviewed by:




P W Stephen C . Gray
      Supervisory U . S . Probation Officer




      Approved :

      Not Approved :




      Jarnes E . Graham
      United States Magistrate Judge




      Date
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                                         United States District Court
                                             Southern District Of Georgi a                          U.

                   United States of America

                               vs.

                     Tyrone Bernard Bradley                     Case No . CR206-00034-00 1



                       CONSENT TO MODIFY CONDITIONS OF RELEAS E
I,   Tyrone Bernard Bradley      , have discussed with                    Fonda Dixon              , Probation Officer,
modifications of my release conditions as follows :

               The defendant shall participate in a program of outpatient substance abuse counseling .




                                and consent to this modification of my release conditions and agree to abide by thi s




                                         Date 'rrobation Office r                                        Date




     The above modification of conditions of release is ordered .
     The above modification offnditions of release is not ordered.

                                                                                                 f,-f '770 7
Jam Graham                                                                                Date
U ' e tatesJMagistrate Judge
